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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION


 DOUGLAS E. MILLER                                                                       PLAINTIFF

 v.                                                        CIVIL ACTION NO. 3:20-CV-310-CHB

 MARK BATSON et al                                                                     DEFENDANT



                        REPORT OF TELEPHONIC STATUS CONFERENCE

             A telephonic status conference was conducted in this matter on May 27, 2025. Andrew T.
 Lay participated on behalf of the plaintiff. Kristie Babbitt Walker participated on behalf of the
 defendants.
             Based on a discussion, a settlement conference will be scheduled, by separate order,
 before the Magistrate Judge.

             Date: May 27, 2025           ENTERED BY ORDER OF COURT:
                                          REGINA S. EDWARDS, MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT
                                          JAMES J. VILT, JR., CLERK
                                            By:  /s/ Ashley Henry
                                                     Deputy Clerk

 Copies to counsel


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